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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:10-CR-00299-WBS

12                                Plaintiff,            STIPULATION REQUESTING THAT THE
                                                        MATTER BE SET FOR A CHANGE OF PLEA
13                         v.
                                                        DATE: September 30, 2013,
14   BERNARDO LAREDO                                    TIME: 9:30 a.m.
                                                        COURT: Hon. William B. Shubb
15                                Defendant.

16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for Trial Confirmation on September 30, 2013, and

21 Jury Trial on October 22, 2013.

22          2.     By this stipulation, the parties now request that the matter be set for a Change of Plea

23 Hearing on September 16, 2013, at 9:30 a.m.

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      STIPULATION RE: CHANGE OF PLEA HEARING             1
 1 IT IS SO
          O STIPULA
                  ATED.

 2 Dated: September
          S         10
                     0, 2013                          BE
                                                       ENJAMIN B    B. WAGNER R
                                                      Unnited States A
                                                                     Attorney
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 4                                                    /s/ JUSTIN L. LEE
                                                      JUSTIN L. LE  EE
 5                                                    Asssistant Uniteed States Atttorney

 6
      Dated: September
             S         10
                        0, 2013                       /s/ MICHAEL HANSEN
 7                                                    MIICHAEL HA   ANSEN
                                                      Co unsel for Deefendant
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111                                                 R
                                                ORDER

122          T IS SO ORD
            IT         DERED.

133 Dated: September
           S         11, 2013

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       STIPULA
             ATION RE: CHAN
                          NGE OF PLEA HEARING     2
